                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN
                                   Court Minutes and Order
HEARING DATE: December 10, 2020
JUDGE:        Brett H. Ludwig
CASE NO.:     20-cv-1785-BHL
CASE NAME:    Trump v. The Wisconsin Elections Commission et al
MATTER:       Final Hearing
APPEARANCES:  William Bock, III, Kevin D Koons, and James A Knauer, Attorneys for
              Plaintiff Donald J Trump
              Colin Roth and Corey Finkelmeyer, Attorneys for Defendants The
              Wisconsin Elections Commission, Commissioner Ann S Jacobs,
              Commissioner Dean Knudson, Commissioner Marge Bostelmann, Mark L
              Thomsen, Robert F Spindell, Jr, and Douglas J La Follette
              Jeffrey A Mandell, Davida Brook, and Stephen Morrissey, Attorneys for
              Defendant Governor Tony Evers
              Andrew A Jones and Margaret C Daun, Attorneys for Defendants George
              L Christenson and Julietta Henry
              James M Carroll, Tyrone Martin St Junior, II, and Patrick McClain,
              Attorneys for Defendants Claire Woodall-Vogg, Mayor Tom Barrett, and
              Jim Owczarski
              Dixon Gahnz and Dan Bach, Attorneys for Defendants Mayor John
              Antaramian and Matt Krauter; Mayor Cory Mason and Tara Coolidge; and
              Kris Teske and Eric Genrich
              Michael P May and James Bartzen, Attorneys for Defendants Mayor Satya
              Rhodes-Conway, Maribeth Witzel-Behl, and Scott McDonell
              Jon Greenbaum and Joseph Goode, Attorneys for Intervenor-Defendants
              Wisconsin State Conference NAACP, Dorothy Harrell, Wendell J Harris,
              Sr, and Earnestine Moss
              Charles G Curtis, Jr, Attorney for Intervenor-Defendant Democratic
              National Committee
TIME:         9:15 a.m. – 4:15 p.m.
COURT REPORTERS:      John S. and Susan A.
COURTROOM DEPUTY: Melissa P.


       The parties presented a stipulation of proposed facts and exhibits, ECF No. 127. The
Court approved the stipulation and accepted exhibits into evidence as proposed. The parties
presented argument on the motions to dismiss and on the merits. At the conclusion of the
hearing, the Court took the pending matters under advisement. Accordingly,

   IT IS HEREBY ORDERED:




        Case 2:20-cv-01785-BHL Filed 12/12/20 Page 1 of 2 Document 133
1. The parties’ stipulation of proposed facts and exhibits, ECF No. 127, is APPROVED.
   Documents are admitted into evidence consistent with ¶1 of the stipulation. The
   stipulation, the declaration of defendant Claire Woodall-Vogg, and the declarations of
   Bartholomew R. Williams and David J. Bolter are also admitted into evidence.

2. The parties’ motions to quash, ECF Nos. 62, 68, and 79, and the motion in limine, ECF
   No. 114, as well as defendant Governor Evers’ oral motion in limine, are DENIED as
   moot.

3. The parties’ motion for preliminary injunction, ECF No. 6, and all motions to dismiss,
   ECF Nos. 69, 71, 78, 84, 86, 96, 97, and 99, are taken under advisement.

4. Defendant Governor Evers’ oral motion for judgment under Fed. R. Civ. P. 52 is taken
   under advisement.

   Dated at Milwaukee, Wisconsin on December 12, 2020.

                                                 s/ Brett H. Ludwig
                                                 BRETT H. LUDWIG
                                                 United States District Judge




     Case 2:20-cv-01785-BHL Filed 12/12/20 Page 2 of 2 Document 133
